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 6
     Attorneys for Defendants, Carpenters Southwest
 7   Administrative Corporation and Board of Trustees
     For the Carpenters Southwest Trusts
 8
 9                          UNITED STATES DISTRICT COURT
10                                     DISTRICT OF ARIZONA
11
12   HKB, INC., an Arizona corporation,           No.2: 16-cv-03799-DJH
     doing business as Southwest                  No. 2:17-cv-00198-DJH
13   Industrial Rigging,

14                        Plaintiff,              NOTICE OF WITHDRAW OF
15   v.                                           COUNSEL OF RECORD AS TO
                                                  THOMAS DAVIS
16   Board of Trustees for the
     Carpenters Southwest
17   Trusts, erroneously sued as Board
     Of Trustees for the                          Before The Honorable
18   Southwest Carpenter's                          Diane J. Humetawa
     Southwest Trust; et al
19                        Defendants.
                                                  Hearing.: N/A
20   CaJIJenters Southwest                        Time: I :30 p.m.
     Adrilinistrative Corporation,                Courtroom: 60 5
21   et al                                        O'Connor Courthouse
                                                  401 W. Washington St.
22                        Plaintiffs,             Phoenix, AZ 85'003
23   v.
     H K B Inc., et al
24
                          Defendants.
25
26   Ill
27   Ill
28
                 NOTICE OF WITHDRAW OF COUNSEL OF RECORD AS TO THOMAS DAVIS
      Case 2:16-cv-03799-DJH Document 61 Filed 12/11/18 Page 2 of 3


 1   TO THE CLERK OF COURT AND ALL PARTIES OF RECORD:
 2         Please withdraw the appearance of THOMAS DAVIS as counsel for
 3   Defendants Board of Trustees for the Carpenters Southwest Trusts, erroneously
 4   sued as Board Of Trustees for the Southwest Carpenter's Southwest Trust
 5   (collectively, "Defendants"). The basis for this withdrawal is that THOMAS
 6   DAVIS is no longer employed with DeCARLO & SHANLEY, a Professional
 7   corporation. The undersigned attorneys who have appeared on Defendants' behalf
 8   from DeCARLO & SHANLEY will continue to represent Defendants in this
 9   matter.
10
11   Dated: December _t_\_, 20 18         DeCARLO & SHANLEY,
                                          a Professional Corporation
12
13                                        By:..,.......,...~_.....,_....--~--+----
                                               t p e     e e
14                                        Attorn     or Deientea~ns,
                                          Carpenters Southwest Administrative
15                                        Corporation and Board of Trustees for the
                                          Carpenters Southwest Trusts
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               NOTICE OF WITHDRAW OF COUNSEL OF RECORD AS TO THOMAS DAVIS
              Case 2:16-cv-03799-DJH Document 61 Filed 12/11/18 Page 3 of 3

                                 CERTIFICATE OF SERVICE

                          (H K B, Inc., etc., v. Board of Trustees, etc.)
                         (USDC-Arizona Case No. 2:16-cv-03799DJH)


      I hereby certify that on December 11, 2018, I electronically transmitted the attached
document, NOTICE OF WITHDRAWAL OF COUNSEL OF RECORD AS TO THOMAS
DAVIS, to the Clerk's Office using the CM/ECF System for filing and transmittal of a Notice
of Electronic Filing to the following CM/ECF registrants:

             James Edward Holland, Jr. - jholland@stinson.com,cbarajas@stinson.com
             Javier Torres - javier.torres@stinson.com,cynthia.fischer@stinson.com




and by First Class Mail, addressed as follows:

      Nicholas James Begakis
      LimNexis LLP
      1055 W 7th St., 28th Fl.
      Los Angeles, CA 90017

in said action, by placing [X] a true copy thereof, [ ] an original enclosed in sealed envelope( s).

(BY MAIL) I placed such envelopes with postage thereon fully prepaid in the United States
Mail at 533 South Fremont Avenue, Los Angeles, California 90071.

                Executed on December 11,2018, at Los Angeles, California.

       I declare that I am employed in the office of a member of the bar of this court at whose
direction the service was made.
